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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 KEVIN T. LAVERY, M.D.,

       Plaintiff,
                                            Case No. 2:22-cv-10613
 v.                                         Judge Bernard A. Friedman

 PURSUANT HEALTH, INC.

       Defendant.

                      STIPULATED PROTECTIVE ORDER

      Pursuant to Rule 26 of the Federal Rules of Civil Procedure, and upon the

agreement of the parties in the above-captioned action (the “Litigation”), it is hereby

ordered as follows:

      1.     This Stipulated Protective Order (the “Order”) shall govern production,

disclosure, use and dissemination of certain documents, deposition testimony,

deposition exhibits, deposition transcripts, written discovery requests, interrogatory

responses, responses to requests to admit, and responses to requests for documents,

and any other information or material produced, given or exchanged, including any

information contained therein or derived therefrom (“Discovery Material”)

containing confidential and/or proprietary information (referred to as “Confidential

Material”) produced by the parties to the Litigation or a non-party (the “Parties,”

each a “Party,” and the Party producing such information the “Producing Party”).
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       2.       Any individual or entity not a party to this case may join in this Order

by executing the attached Stipulation of Non-Party to Join Protective Order, and

shall have the same rights and obligations under the Protective Order as the parties

to this case.

       3.       This Order shall be without prejudice to the right of any party or non-

party to oppose production of any requested information.

       4.       Any Producing Party may designate any Discovery Material as

“Confidential” under the terms of this Order if such party in good faith believes

that such Discovery Material contains non-public, confidential, proprietary or

commercially sensitive information that requires the protections provided in this

Order (“Confidential Discovery Material”). Any Producing Party may designate

any Discovery Material as “Highly Confidential” under the terms of this Order if

such party in good faith reasonably believes that disclosure of the Discovery

Material other than as permitted pursuant to Paragraph 9 of this Order is

substantially likely to cause injury to the Producing Party (“Highly Confidential

Discovery Material”).

       5.       The designation of Discovery Material as Confidential Discovery

Material or Highly Confidential Discovery Material shall be made in the following

manner:
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            a.    In the case of documents or other materials (apart from

                  depositions or other pre-trial testimony): (i) by affixing the

                  legend “Confidential” or “Highly Confidential” to each page

                  containing any Confidential Discovery Material or Highly

                  Confidential Discovery Material; or (ii) in the case of

                  electronically stored information produced in native format, by

                  including “Confidential” or “Highly Confidential” in the file or

                  directory name, or by affixing the legend “Confidential” or

                  “Highly Confidential” to the media containing the Discovery

                  Material (e.g., CD-ROM, floppy disk, DVD).

            b.    In the case of depositions or other pre-trial testimony: (i) by a

                  statement on the record, by counsel, at the time of such

                  disclosure or before the conclusion of the deposition or

                  testimony; or (ii) by written notice, sent to all Parties within 14

                  business days of receipt of the final transcript of the

                  deposition or other pre-trial testimony; provided that only those

                  portions of the transcript designated as Confidential Discovery

                  Material or Highly Confidential Discovery Material shall be

                  deemed Confidential Discovery Material or Highly Confidential

                  Discovery Material. The Parties may modify this procedure for
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                     any particular deposition or other pre-trial testimony, through

                     agreement on the record at such deposition or testimony,

                     without further order of the Court.

             c.      In the case of any other Discovery Material, by written notice

                     that the Discovery Material constitutes Confidential Discovery

                     Material or Highly Confidential Discovery Material.

      6.     The designation of Discovery Material as Confidential Discovery

Material   or     Highly Confidential Discovery Material shall constitute a

representation that such Discovery Material has been reviewed by an attorney

representing the Party making the designation, and that there is a good faith basis

for such designation under the terms set forth in this Protective Order.

      7.     Inadvertent failure to designate Discovery Material as Confidential

Discovery Material or Highly Confidential Discovery Material shall not constitute

a waiver of such claim and may be corrected. A Producing Party may designate as

Confidential or Highly Confidential any Discovery Material that has already been

produced, including Discovery Material that the Producing Party inadvertently

failed to designate as Confidential or Highly Confidential, (i) by notifying in

writing the Party to whom the production has been made that the Discovery Material

constitutes Confidential Discovery Material or Highly Confidential Discovery

Material, or (ii) in a manner consistent with Paragraph 5 . Upon receiving such
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supplemental notice, the Parties shall thereafter mark and treat the Discovery

Material so designated as Confidential Discovery Material or Highly Confidential

Discovery Material, and such Discovery Material shall be fully subject to this

Order from the date of such supplemental notice forward. The Party receiving

such notice shall make a reasonable, good faith effort to ensure that any analyses,

memoranda, notes, or other such materials generated based upon such newly

designated information are immediately treated as containing Confidential

Discovery Material or Highly Confidential Discovery Material. In addition, upon

receiving such supplemental written notice, any receiving Party that disclosed the

Discovery    Material before its designation as “Confidential” or “Highly

Confidential” shall exercise its best efforts (i) to ensure the return or destruction of

such Discovery Material; (ii) to ensure that any documents or other materials

derived from such Discovery Material are treated as if the Discovery Material had

been designated as “Confidential” or “Highly Confidential” when originally

produced; (iii) to ensure that such Discovery Material is not further disclosed except

in accordance with the terms of this Order; and (iv) to ensure that any such

Discovery Material, and any information derived therefrom, is used solely for the

purposes described in Paragraph 14 of this Order.
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      8.    Confidential Discovery Material may be disclosed, summarized,

described, characterized, or otherwise communicated or made available in whole

or in part only to the following persons:

            a.     The Parties and the directors, officers, employees, general

                   partners, and limited partners of the Parties, or any subsidiary

                   or affiliate thereof, who are assisting with or making decisions

                   concerning the Litigation, to the extent deemed reasonably

                   necessary by counsel of record for the purpose of assisting in the

                   prosecution or defense of the Litigation for use in accordance

                   with this Order;

            b.     Counsel who represent Parties in this Litigation (including

                   in-house counsel), and the partners, associates, paralegals,

                   secretaries, clerical, regular and temporary employees, and

                   service vendors of such counsel (including outside copying and

                   litigation support services) who are assisting with the Litigation

                   for use in accordance with this Order;

            c.     Subject to Paragraph 12, experts or consultants assisting

                   counsel for the Parties, and partners, associates, paralegals,

                   secretaries, clerical, regular and temporary employees, and

                   service vendors of such experts or consultants (including outside
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                  copying services and outside support services) who are assisting

                  with the Litigation;

            d.    Subject to Paragraph 13, witnesses or deponents, and their

                  counsel, only to the extent necessary to conduct or prepare for

                  depositions or testimony in this Litigation;

            e.    Any person indicated on the face of a document or

                  accompanying cover letter, email, or other communication to be

                  the author, addressee, or an actual or intended recipient of the

                  document, or, in the case of meeting minutes, an attendee of the

                  meeting;

            f.    The Court, persons employed by the Court, and court reporters

                  transcribing any hearing, trial, or deposition in this Litigation

                  or any appeal therefrom; and

            g.    Any other person only upon (i) order of the Court entered upon

                  notice to the Parties, or (ii) written stipulation of, or statement

                  on the record by, the Producing Party who provided the

                  Discovery Material being disclosed, provided that such person

                  signs an undertaking in the form attached as Exhibit A hereto.
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      9.      Highly Confidential     Discovery Material          may   be   disclosed,

summarized, described, characterized, or otherwise communicated or made

available in whole or in part only to the following persons:

             a.    Outside counsel who represent Parties in this Litigation, and the

                   partners, associates, paralegals, secretaries, clerical, regular and

                   temporary employees, and service vendors of such counsel

                   (including outside copying and litigation support services) who

                   are assisting with the Litigation for use in accordance with this

                   Order;

             b.    Subject to Paragraph 12, experts or consultants assisting

                   counsel for the Parties, and partners, associates, paralegals,

                   secretaries, clerical, regular and temporary employees, and

                   service vendors of such experts or consultants (including outside

                   copying services and outside support services) who are assisting

                   with the Litigation;

             c.    Subject to Paragraph 13, witnesses or deponents, and their

                   counsel, only to the extent necessary to conduct or prepare for

                   depositions or testimony in this Litigation;

             d.    Any person indicated on the face of a document or

                   accompanying cover letter, email, or other communication to be
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                   the author, addressee, or an actual or intended recipient of the

                   document, or, in the case of meeting minutes, an attendee of the

                   meeting;

             e.    The Court, persons employed by the Court, and court reporters

                   transcribing any hearing, trial, or deposition in this Litigation

                   or any appeal therefrom; and

             f.    Any other person only upon (i) order of the Court entered upon

                   notice to the Parties, or (ii) written stipulation of, or statement

                   on the record by, the Producing Party who provided the

                   Discovery Material being disclosed, and provided that such

                   person signs an undertaking in the form attached as Exhibit A

                   hereto.

      10.    In addition to the foregoing, a Party receiving Confidential Discovery

Material may disclose such information to an indemnitor, insurer or other entity

other than a Party that may be financially responsible for paying a judgment or

settlement resulting from this Litigation (“Insurer”) or an attorney representing such

Insurer, but only upon the fulfillment of the requirements of Paragraph 13 below

with respect to each such person who will receive the Confidential Discovery

Material. Confidential Discovery Material disclosed to an Insurer or its attorney
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 under this paragraph may be used by the Insurer for purposes of ascertaining the

 existence and scope of its financial obligations with respect to the Litigation.

       11.    To the extent that testimony is sought concerning Confidential

 Discovery Material or Highly Confidential Discovery Material during any

 deposition or in any other pre-trial venue, any Party may exclude any person from

 the deposition or other venue during such testimony if the Confidential Discovery

 Material or Highly Confidential Discovery Material may not be disclosed to such

 person under the terms of this Order.

       12.    Notwithstanding Paragraphs 8-10 above, Confidential Discovery

 Material or Highly Confidential Discovery Material may be provided to persons

 listed therein only to the extent necessary for such expert or consultant to prepare a

 written opinion, to prepare to testify, or to assist counsel in this Litigation, provided

 that such expert or consultant (i) is not currently an employee of, or advising or

 discussing employment with, or consultant to, any Party or any competitor or

 potential transaction counterparty of any Party, as far as the expert or consultant

 can reasonably determine, and (ii) is using said Discovery Material solely in

 connection with this Litigation; and further provided that such expert or consultant

 agrees to be bound by the terms of this Order by signing an undertaking in the form

 attached as Exhibit A hereto. Counsel for the Party showing, providing, or

 disclosing Confidential Discovery Material or Highly Confidential Discovery
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 Material to any person required to execute an undertaking pursuant to this

 paragraph shall be responsible for obtaining such signed undertaking and

 retaining the original, executed copy thereof. Under no circumstances shall an

 expert or consultant who is a competitor or an employee of a competitor of a Party,

 or who is providing services to any of the foregoing, be provided access to

 Confidential Discovery Material or Highly Confidential Discovery Material absent

 further order of the Court or consent of the Producing Party.     “Competitors” are

 persons or entities endeavoring to engage in the same or similar lines of business,

 provide the same or similar services, sell the same or similar products, and/or

 operate in the same markets, as well as any persons who are actually engaged in any

 of these activities.

        13.    Notwithstanding Paragraphs 8-10 above, Confidential Discovery

 Material or Highly Confidential Discovery Material may be provided to persons

 listed therein only after (i) they confirm their understanding and agreement to

 abide by the terms of this Order by making such a statement on the record, and/or

 by signing an undertaking in the form attached as Exhibit A hereto, or (ii) a court of

 competent jurisdiction orders them to abide by the terms of the Order. Counsel for

 the Party showing Confidential Discovery Material or Highly Confidential

 Discovery Material to any person required to execute an undertaking pursuant to
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 this paragraph shall be responsible for obtaining such signed undertaking and

 retaining the original, executed copy thereof.

       14.      Except as otherwise expressly provided herein, Confidential Discovery

 Material or Highly Confidential Discovery Material shall be used solely for

 purposes of this Litigation and shall not be used for any other purpose, including,

 without limitation, any business or commercial purpose, or any other litigation or

 proceeding; provided, however, that the foregoing shall not apply to Discovery

 Material that is or becomes part of the public record.

       15.      Every person to whom Confidential Discovery Material or Highly

 Confidential     Discovery    Material   is   disclosed,    summarized,     described,

 characterized, or otherwise communicated or made available, in whole or in

 part, shall be advised that the information is being disclosed pursuant and subject

 to the terms of this Order and may not be disclosed or used for purposes other than

 those permitted hereunder. Each such person shall maintain the Confidential

 Discovery Material or Highly Confidential Discovery Material, or information

 derived therefrom, in a manner reasonably calculated to prevent unauthorized

 disclosure. Any Party issuing a subpoena to a non-Party shall enclose a copy of this

 Order and notify the non-Party that the protections of this Order are available to such

 non-Party.
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       16.    Consistent with Local Rule 5.3(b)(3), any                 pleading,    brief,

 memorandum, motion, letter, affidavit, or other document filed with the Court

 that discloses, summarizes, describes, characterizes or otherwise communicates

 Confidential Discovery Material or Highly Confidential Discovery Material shall

 initially be deemed a “Confidential Filing,” whether in whole or in part, and

 treated as if it contains “Confidential Information.”

       17.    This order does not authorize the filing of any documents under seal.

 Documents may be sealed only if authorized by statute, rule, or order of the Court.

 A party seeking to have filed under seal any paper or other matter in this case must

 file and serve a motion that sets forth: (a) the authority for sealing; (b) an

 identification and description of each item proposed for sealing; (c) the reason that

 sealing each item is necessary; (d) the reason that a means other than sealing is not

 available or unsatisfactory to preserve the interest advanced by the movant in support

 of the seal; and (e) a memorandum of legal authority supporting the seal. See E.D.

 Mich. LR 5.3; Shane Group, Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d

 299 (6th Cir. 2016). With the exception of limited purpose filings allowed by Eastern

 District of Michigan Local Rule 5.3(b)(3)(A)(vi), no party shall file or otherwise

 tender to the Clerk any item proposed for sealing unless the Court has granted the

 motion required by this section. Whenever a motion to seal is filed, the movant shall

 submit a brief that states the particular reason the seal is required. If a motion to seal
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 is granted, then the documents to be sealed may be separately electronically filed

 under seal.

       18.     Any party, other than the Designating Party, that anticipates filing any

 material that has been designated as Confidential Information must provide

 reasonable notice to the Designating Party of the proposed filing, so that the

 Designating Party will have ample time, if it so desires, to file a motion for leave to

 file the material in question under seal. The parties then shall meet and confer in

 connection with any anticipated motion for an order authorizing the filing of

 Confidential Information under seal, in a good faith attempt to reach an agreement

 regarding whether the Confidential Information should be filed under seal. See E.D.

 Mich. LR 7.1(a). If an agreement is reached, then the parties may file a joint motion

 for leave to file under seal, in conformance with paragraph A and Eastern District of

 Michigan Local Rule 5.3. If an agreement is not reached, then the Designating Party

 may file a motion in compliance with paragraph A and Local Rule 5.3. If the motion

 is denied, then the party separately may file the material, but not under seal.

       19.     During the pendency of this Litigation, any Party objecting to the

 designation of any Discovery Material or testimony as Confidential Discovery

 Material or Highly Confidential Discovery Material may, after making a good faith

 effort to resolve any such objection, move on reasonable notice for an order vacating

 the designation. While such an application is pending, the Discovery Material or
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 testimony in question shall be treated as Confidential Discovery Material or

 Highly Confidential Discovery Material pursuant to this Order. The provisions of

 this Order are not intended to shift the burden of proof on any Party seeking to

 establish that Discovery Material validly constitutes Confidential Discovery

 Material or Highly Confidential Discovery Material, which burden remains on the

 Party that designates such      Discovery Material as Confidential or Highly

 Confidential.

       20.   Each Party reserves the right to seek an order from the Court providing

 additional safeguards or modifying the terms of this Order.

       21.   Entering into this Order, or agreeing to and/or producing or receiving

 Discovery Material or otherwise complying with the terms of this Order, shall not:

             a.     Prejudice in any way the rights of any Party to (i) seek

                    production of documents or information it considers subject to

                    discovery, or (ii) object to the production of documents or

                    information it considers not subject to discovery;

             b.     Operate as an admission by any Party that any particular

                    Discovery Material constitutes Confidential Discovery Material

                    or Highly Confidential Discovery Material or contains or reflects

                    trade secrets or any other type of confidential information;
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             c.    Prejudice in any way the rights of any Party to (i) petition the

                   Court for a further protective order relating to any purportedly

                   Confidential Discovery Material or           Highly Confidential

                   Discovery Material, or (ii) seek a determination by the Court

                   whether any Discovery Material or Confidential Discovery

                   Material or Highly Confidential Discovery Material should be

                   subject to the terms of this Order;

             d.    Prevent any Party from agreeing in writing to alter or waive the

                   provisions or protections provided herein with respect to any

                   particular Discovery Material;

             e.    Prejudice in any way the rights of any Party to object to the

                   relevance, authenticity, use, or admissibility into evidence of

                   any document, testimony, or other evidence subject to this

                   Order;

             f.    Preclude any Party from objecting to discovery that it believes

                   to be otherwise improper; or

             g.    Operate as a waiver of any attorney-client, work product,

                   business strategy, trade secret, or other privilege.

       22.   This Order has no effect upon, and shall not apply to, a Producing

 Party’s use or disclosure of its own Discovery Material for any purpose. Nothing
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 herein shall: (i) prevent a Producing Party from disclosing its own Discovery

 Material; or (ii) impose any restrictions on the use or disclosure by any person

 of documents, materials, or information designated as Confidential Discovery

 Material or Highly Confidential Discovery Material obtained lawfully by such

 person independently of this Litigation, and not otherwise subject to confidentiality

 restrictions.

        23.      If Discovery Material that is subject to a claim of attorney-client

 privilege, attorney work product, or any other applicable privilege or immunity

 or ground on which production of that information should not be made to any

 Party (“Inadvertent Production Material”) is inadvertently produced to that Party or

 Parties, such inadvertent production shall in no way prejudice or otherwise

 constitute a waiver of, or estoppel as to, any claim of attorney-client privilege,

 work product or other applicable privilege or immunity or ground.

                 a.    A claim     of inadvertent production shall constitute a

                       representation by that Producing Party that the Inadvertent

                       Production Material has been reviewed by an attorney for such

                       Producing Party and that there is a good faith basis for such

                       claim of inadvertent production.

                 b.    If a claim of inadvertent production is made pursuant to this

                       Order, with respect to Discovery Material then in the custody
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                  of another     Party,   the   Party possessing the Inadvertent

                  Production Material shall: (i) refrain from any further

                  examination     or   disclosure    of   the   claimed    Inadvertent

                  Production Material; (ii) if requested, promptly make a good

                  faith effort to return the claimed Inadvertent Production Material

                  and all copies thereof (including summaries and excerpts) to

                  counsel for the Producing Party, or destroy all such claimed

                  Inadvertent Production Material (including summaries and

                  excerpts) and all copies thereof, and certify in writing to that fact;

                  and (iii) not use the Inadvertent Production Material for any

                  purpose until further order of the Court.

             c.   A Party may move the Court for an order compelling

                  production of the claimed Inadvertent Production Material;

                  however, while such motion is pending, the Discovery Material

                  in question shall be treated as Inadvertent Production Material,

                  and such motion may not assert as a ground for entering such

                  an order the fact or circumstance of the inadvertent production,

                  nor shall such motion include or otherwise disclose, as an

                  attachment, exhibit, or otherwise, the Inadvertent Production
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                    Material (or any portion thereof) that is the subject of such

                    motion.

       24.    Nothing herein shall be deemed to waive any applicable common law

 or statutory privilege or work product protection.

       25.    In the event additional Parties join or are joined in this Litigation, they

 shall not have access to Confidential Discovery Material or Highly Confidential

 Discovery Material until the newly joined Party by its counsel has executed and

 filed with the Court its agreement to be fully bound by this Order.

       26.    The Parties agree to be bound by the terms of this Order pending the

 entry by the Court of this Order, and any violation of its terms shall be subject

 to the same sanctions and penalties as if this Order had been entered by the Court.

       27.    Subject to the requirements of Federal Rules of Civil Procedure and the

 Uniform Local Civil Rules and Orders of this Court (“Local Rules”), the provisions

 of this Order shall, absent written permission of the Producing Party or further

 order of the Court, continue to be binding throughout and after the conclusion of the

 Litigation, including, without limitation, any appeals therefrom, except as provided

 in Paragraph 27.

       28.    In the event that any Confidential Discovery Material or Highly

 Confidential Discovery Material is used in open court during any court

 proceeding, the material shall lose its confidential status and become part of the
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 public record, unless the Producing Party applies for and obtains an order from this

 Court specifically maintaining the confidential status of particular material. Before

 any court proceeding in which Confidential Discovery Material or Highly

 Confidential Discovery Material is to be used, counsel shall confer in good faith

 on such procedures that may be necessary or advisable to protect the

 confidentiality of any such Discovery Material.

       29.    Within 60 days after receiving notice of the entry of an order, judgment,

 or decree finally disposing of this Litigation, or any other proceeding in which

 Confidential Discovery Material or Highly Confidential Discovery Material is

 permitted to be used, including the exhaustion of all possible appeals, all persons

 having received Confidential Discovery Material or Highly Confidential Discovery

 Material shall either (i) make a good faith and reasonable effort to return such

 material and all copies thereof (including summaries, excerpts, and derivative

 works) to counsel for the Producing Party; or (ii) make a good faith and reasonable

 effort to destroy all such Confidential Discovery Material or Highly Confidential

 Discovery Material, and certify to that fact in writing to counsel for the Producing

 Party. However, counsel for the Parties shall be entitled to retain court papers,

 deposition and trial transcripts, and litigation files (including attorney work product

 and discovery material containing Confidential Discovery Material or Highly

 Confidential Discovery Material), provided that such counsel, and employees of
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 such counsel, shall maintain the confidentiality thereof and shall not disclose such

 court papers, depositions and trial transcripts, and litigation files (including

 attorney work product and discovery material containing Confidential Discovery

 Material or Highly Confidential Discovery Material) to any person except pursuant

 to a court order or agreement by the Producing Party or except as otherwise required

 by law. All materials returned to the Parties or their counsel by the Court likewise

 shall be disposed of in accordance with this paragraph.

       30.    If any person in possession of Confidential Discovery Material or

 Highly Confidential Discovery Material (the “Receiver”) receives a subpoena or

 other compulsory process seeking the production or other disclosure of Confidential

 Discovery Material or Highly Confidential Discovery Material produced or

 designated as “Confidential” or “Highly Confidential” by a Producing Party

 other than the Receiver (collectively, a “Demand”), the Receiver shall give written

 notice (by hand, email, or facsimile transmission) to counsel for the Producing Party

 (or Producing Parties) within three business days of receipt of such Demand (or if a

 response to the Demand is due in less than three business days, at least 24 hours

 before the deadline for a response to the Demand), identifying the Confidential

 Discovery Material or Highly Confidential Discovery Material sought and

 enclosing a copy of the Demand, and must object to the production of the

 Confidential Discovery Material or Highly Confidential Discovery Material on the
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 grounds of the existence of this Order. The burden of opposing the enforcement of

 the Demand will fall on the Producing Party. Nothing herein shall be construed

 as requiring the Receiver or anyone else covered by this Order to challenge or

 appeal any order requiring production of Confidential Discovery Material or Highly

 Confidential Discovery Material covered by this Order, or to subject itself to any

 penalties for noncompliance with any legal process or order, or to seek any relief

 from this Court or any other court. Compliance by the Receiver with any order

 directing production pursuant to a Demand of any Confidential Discovery Material

 or Highly Confidential Discovery Material will not constitute a violation of this

 Order.

          31.   No Receiver shall reveal any Confidential Discovery Material or

 Highly Confidential Discovery Material, or the information contained therein, to

 anyone not entitled to receive such Confidential Discovery Material or Highly

 Confidential Discovery Material under the terms of this Order. In the event that

 Confidential Discovery Material or Highly Confidential Discovery Material is

 disclosed to any person other than in the manner authorized by this Order, or that

 any information comes to the Receiver’s attention that may indicate there was or

 is likely to be a loss of confidentiality of any Confidential Discovery Material or

 Highly Confidential Discovery Material, the Receiver responsible for the

 disclosure or loss of confidentiality shall immediately inform the Producing Party
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 of all pertinent facts relating to the disclosure or loss of confidentiality, including,

 if known, the name, address, and employer of each person to whom the disclosure

 was made. The Receiver responsible for the disclosure or loss of confidentiality

 shall also make reasonable efforts to prevent disclosure of Confidential Discovery

 Material or Highly Confidential Discovery Material by each unauthorized person

 who receives the information.

       32.    The Parties agree that the production of any Discovery Material by any

 non-Party shall be subject to and governed by the terms of this Order.

       33.    Except as otherwise provided herein, this Order may be modified,

 amended or suspended only upon motion and upon a showing of good cause.

       SO ORDERED this 2nd day of September, 2022.


                                  s/Bernard A. Friedman
                                  Hon. Bernard A. Friedman
                                  UNITED STATES DISTRICT JUDGE
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 Prepared and Consented to by:

  /s/ Steven Susser                     /s/ Bruce A. Inosencio, Jr.
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  forthcoming)
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  Health, Inc.
Case 2:22-cv-10613-JJCG-KGA ECF No. 15, PageID.174 Filed 09/02/22 Page 25 of 27




                                     EXHIBIT A

                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

  KEVIN T. LAVERY, M.D.,

        Plaintiff,
                                            Case No. 2:22-cv-10613
  v.                                        Judge Bernard A. Friedman

  PURSUANT HEALTH, INC.

        Defendant.

                     ACKNOWLEDGMENT OF UNDERSTANDING
                        AND AGREEMENT TO BE BOUND

       The undersigned hereby acknowledges that he or she has read the Protective

 Order dated September __, 2022 in the above captioned action, understands the

 terms thereof, and agrees to be bound by such terms. The undersigned understands

 that the terms of said Order obligate him/her to use discovery materials designated

 CONFIDENTIAL or HIGHLY CONFIDENTIAL solely for the purposes of the

 above-captioned action, and not to disclose any such CONFIDENTIAL or HIGHLY

 CONFIDENTIAL documents or information to any other person, firm or concern.

       The undersigned acknowledges that violation of the Stipulated Protective

 Order may result in penalties for contempt of court.
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                                      By:


 Date: ________________, 20_____
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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

  KEVIN T. LAVERY, M.D.,

        Plaintiff,

  v.                                        Case No. 2:22-cv-10613-BAF-KGA

  PURSUANT HEALTH, INC.

        Defendant.

       STIPULATION OF NON-PARTY TO JOIN PROTECTIVE ORDER

        The undersigned having consented hereto, it is hereby stipulated that Non-

 Party _________________ joins in the Consent Protective Order having all rights

 and obligations under the Protective Order as any party to this case.

        Dated: _____________________, 202__.



                                        ____________________________________

                                        Name: ______________________________

                                        Title: _______________________________
